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IN THE UNITED STATES DISTRICT COURT

F()R THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

DAN E. LONG,
Plaintiff,
NO.: 03-1097-T-An

V.

PROCTER & GAMBLE
MANUFACTURING COMPANY,

Defendant.

 

AMENDED RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates were

established as the final dates for:

FILING DISPOSITIVE MOTIONS: July 22, 2005
RESPONSE TO DISPOSITIVE MOTIONS: August 12, 2005
FILING MOTIONS IN LIMINE: December 2, 2005
RESPONSE TO MOTIONS IN LIMINE: December 16, 2005
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(3)(3)):

(a) for Plaintiff: November 22, 2005
(b) for Defendant: November 29, 2005

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

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The trial of this matter is expected to last 1-2 weeks and is SE'I` for .IURY TRIAL
on MONDAY, JANUARY 23, 2006 at 9:30 A.M.. A joint pretrial order is due on FRIDAY,
JANUARY 13, 2006. In the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FED. R. CIV. P. allow 30 days for a party to
respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause Shown, or any objection to the default, response,
or answer Shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FED. R. CIV. P. 12, 56, 59, and 60, shall be accompanied by
a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

At this time, the parties have not given consideration to whether they wish to consent to
trial before the magistrate judge. The parties Will file a written consent form with the court
should they decide to proceed before the magistrate judge.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or

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extended

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Q¢LL 201 200(
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Notice of Distribution

This notice confirms a copy of the document docketed as number 137 in
case 1:03-CV-01097 was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
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